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October 19, 2009

TO BE

The Honorable I. Leo Glasser
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

Re: : i “CR. -
Dear Judge Glasser:

We represent Felix Sater, the defendant in the above matter, who is scheduled to be
sentenced by Your Honor on October 23, 2009. We write to advise the Court of the unique and
extraordinary nature of this case, and to ask that the Court sentence Mr. Sater, who pled guilty
nearly 1] years ago, to a term of no jail and no probation. _

Introduction

As set forth in the government's letter to the Court pursuant to Section 5K1.1 of the
United States Sentencing Guidelines (the “SK1.1 Letter”), for a decade, Felix Sater has been an
extraordinary asset to the United States government, in both the federal law enforcement and
intelligence arenas. His cooperation has covered a stunning array of subject matter, ranging from
sophisticated local and international criminal activity to matters involving the world’s most
dangerous terrorists and rogue states. Unlike many defendants, Felix began to provide important
and valuable information to the U.S. government before being charged with criminal activity, at
a time when he was living and working in his native Russia and had no assurance that he would
receive any leniency whatsoever. Also unlike most defendants, Felix’s cooperation continued
and even widened well after he had far surpassed the obligations of his plea agreement and
plainly was eligible for a strong 5K1.1 motion for leniency at sentencing.

As the government notes, Felix worked under the supervision of various FBI agents
assigned to investigate a wide range of criminal conduct, including securities fraud, Italian and
Russian organized crime, sophisticated identity theft, money laundering, and counterterrorism.
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To a person, every agent and prosecutor with whom Felix worked considered him an “exemplary
cooperator” and, as the 5K1.] Letter states, Felix’s cooperation was “above and beyond” even
the most extraordinary government expectations. (5K1.1 Letter at 10).

Over the course of his cooperation, Felix was more than simply honest and
forthcoming—he was proactive and in fact risked his life numerous times in ways not normally
seen in the criminal justice system.

 
 

 

but he also gathered sensitive Russian military intelligence data while in Russia, and
traveled more than once to precarious regions of Central Asia, where he obtained closely-
guarded intelligence information relating to America’s most dangerous enemies, including
Osama Bin Laden, Al Qaeda, and North Korea. Felix also participated in FBI undercover
operations during which he met with Russian criminals in Cyprus and Turkey. And after the
attacks of September 11, 2001, Felix used his overseas contacts to obtain extensive information
regarding Bin Laden and Al] Qaeda, which he relayed to the FBI. In all, as the government's
5K1.1 Letter indicates, Felix’s exceptional efforts were “of a depth and breadth rarely seen,” and
not only involved important intelligence information, but led to nearly two dozen convictions
and helped the FBI to attain a greater level of understanding of various sophisticated fraud
schemes. This extraordinary cooperation merits extraordinary recognition by the criminal justice
system and the Court.

Importantly, Felix stopped engaging in criminal conduct in 1996, two years before the
FBI investigation of this matter began, and has fully rehabilitated himself since. During the
nearly 11 years since his guilty plea, Felix has worked steadily in several lawful businesses in the
United States and Russia. He has maintained a strong and loving marriage and enjoys a healthy
family life, raising three daughters who are now ages 11, 12 and 15. By virtue of his ongoing
cooperation, Felix remained under FBI supervision pending sentencing for nearly 11 years, an
unprecedented amount of time. During that period, prosecutors and FBI agents had sufficient
trust in Felix that they found it unnecessary to impose any travel restrictions or pre-trial reporting
requirements. Under these circumstances, even a sentence of probation would be unduly harsh
and unnecessary. To the contrary, to impose a period of probation with its associated restrictions
nearly 11 years after Felix’s guilty plea, when Felix has been fully rehabilitated, lawfully
employed, and has worked diligently to help the government, would be counter-productive for
Felix personally and otherwise would serve no useful purpose in the criminal justice system.

Felix’s Bac d

Felix was bom in Moscow, Russia on March 2, 1966. His family moved several times
during his early childhood and he lived in low-income housing in Moscow, a refugee camp in
Austria, Israel, and Italy, all before immigrating to the United States with his parents and sister in
1973. The family first resided in Baltimore, Maryland and moved to Brooklyn three months
later. Felix began working at a young age, selling newspapers at age eight and working part-time
during high schoo! at retail sports and clothing stores. He lived at home until age 18 and he
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attended Pace University in New York City for several semesters before withdrawing to take a
job on Wall Street in 1985. Felix started as an assistant to an account executive at Bear Stearns
and worked there until he earned his Series 7 license and became a securities broker. a

Felix quickly became successful on Wall Street, holding positions at a number of
prominent financial institutions between 1985 and 1994. By 1991, he was a managing director at
Shearson Lehman Brothers, and likely would have continued along this path had it not been for
an impulsive act inside a New York City bar. Regrettably, a combination of excess alcohol
consumption and a verbal altercation over a woman led to a barroom fight, resulting in a March
1993 assault conviction for Felix, who was 25 at the time of the fight. Felix was sentenced to
state prison, and lost his Series 7 license. To this day, Felix is deeply remorseful that his
immaturity allowed his life to take such a dramatic downward turn.

Unable to work as a licensed broker and with limited employment prospects as a
convicted felon, Felix foolishly joined with a boyhood friend who was engaged in “pump and
dump” securities fraud. They and others formed the brokerage firm (eventually known as State
Street Capital Partners) that was at issue in this securities fraud case. Felix does not dispute the
government's description of his role in criminal conduct relating to his brokerage activity.
However, Felix worked at State Street for less than two years (he was in New York state custody
from June 1994 through September 1995), and left the firm in 1996, well before the 1998
discovery of the cache of documents that spawned this investigation.

Felix’s Extrao n

The Government's 5K1.1 Letter includes a detailed description of Felix's extraordinary
cooperation. We also include the following summary.

Counterterrori 1 Military Intelli

Felix learned in 1998 that the FBI was looking for him in connection with an
investigation into the activities of State Street. At the time, Felix was in Russia, where he was
working as a consultant for AT&T. Without any assurance that his efforts would result in any
leniency from the U.S. government, Felix immediately began to cooperate. Through a Russian
contact, Felix arranged to meet a high ranking U.S. military intelligence officer and former
military attaché st the U.S. embassy in Moscow (the “Officer”). At the Officer’s request, Felix
began to gather sensitive intelligence information for the U.S. government. Specifically, the
Officer asked Felix to help the U.S. purchase a particular high-end anti-missile system from
Russia. Through Russian contacts, Felix was able to enter covertly a closed Russian military
installation, where he located the missile system, and provided details to the Officer. Again at
the Officer’s request, Felix assisted in the U.S. Central Intelligence Agency's efforts to
repurchase U.S.-manufactured Stinger missiles from members of the Northern Alliance in
Afghanistan. Felix traveled to Central Asia and obtained the location and serial numbers of
approximately 10 Stinger missiles, which he provided to U.S. authorities. On a separate
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occasion, again at the request of U.S. intelligence authorities, Felix made another trip to Central’
Asia, where he obtained and supplied to the Officer information regarding North Korea's nuclear
capabilities. rs

Remarkably, Felix also provided specific, credible information about Osama Bin Laden,
including Bin Laden’s satellite telephone numbers and information regarding Bin Laden’s supply
of weaponry. Felix delivered Bin Laden's satellite phone numbers to the FBI in September

1998, after he voluntarily flew from Russia to the United States to surrender to authorities. Felix
was later told by an FBI agent that the numbers were authentic.

Following the attacks of September 11, Felix was able to make contact with an individual
who was in contact with Bin Laden. Using a satellite phone provided by the FBI through Felix,
that individual provided Felix with a steady stream of details regarding Bin Laden and A] Qaeda.
Among the intelligence Felix relayed to the FBI was information on Bin Laden’s location
following the attacks, a list of A] Qaeda members, names and locations of people who handled
security for Bin Laden, secret meetings that Bin Laden planned to attend, a list of Sudanese
banks where Bin Laden held cash reserves, and the identity of companies that were controlled by
Bin Laden in various parts of the world. Through another source, Felix learned and gave to the
FBI the name of a Washington, D.C. restaurant with ties to A] Qaeda and the locations of U.S.
embassies targeted by Al Qaeda. Felix also relayed to the FB] names, descriptions, and locations
of the organizers of the attacks on the USS Cole and the U.S. African embassy attacks. During
the U.S. offensive in Afghanistan in October 2001, Felix relayed information on the locations of
weapons held by Taliban and Al Qaeda forces. He provided the location of Taliban leader
Mullah Omar and supplied ground ‘reports detailing who had been killed by U.S. air-strikes in
Afghanistan. Additionally, Felix relayed the details of an assassination plot against President
Bush, as well as a plot to shoot down a plane carrying Secretary of State Colin Powell. While
Felix of course has no knowledge what use was made of the information he provided, FBI agents
eagerly received the information, which Felix understands was passed on to intelligence
authorities. Also, in 2002 following the information regarding the Bush assassination plot, Felix
was asked to and did arrange a meeting overseas between his source and agents of the U.S.
Secret Service.

Securities Fraud and Organized Crime

Felix’s cooperation enabled the government to make cases not only against those
involved in State Street and other corrupt brokerage firms, but also enhanced the FBI's
understanding of complicated securities fraud schemes popular in the 1990s. As stated inthe _
5K1.1 Letter, Felix’s “information proved to be, in all respects, truthful and highly useful in
explaining and corroborating the evidence gathered up to that time..." (5K1.1 Letter at 3-4).

Between 1998 and 2000, Felix spent hundreds of hours with FBI agents and prosecutors,
explaining otherwise cryptic documents and describing the roles played by the various
participants not only in the State Street firm, but in other similar firms. This included among
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others the organized crime figures who were used to threaten violence against rivals, industry
participants who received kickbacks for inducing unwitting customers to purchase bo
securities, and individuals who laundered ille

 
  
  

 
 

Felix’s cooperation also led to guilty
pleas and cooperation by others, including Bonanno Family captain Frank Coppa Jr., whose own
subsequent cooperation led to the convictions of several others, including Joseph Massino, the
head of the Bonanno Family, who himself subsequently cooperated.

 

 

From 2004 through 2008, Felix helped the FBI bring down two separate international
money laundering and cyber-fraud schemes that originated in Russia. In the first instance, Felix
worked under the FBI's supervision to infiltrate the scheme by pretending to offer money
laundering services. For over a year, Felix received money transfers that had been siphoned
from banking, brokerage and credit cards in the United States using personal information that
had been stolen over the intemet. After establishing a relationship with the Russian criminals
behind the scheme, Felix traveled to Cyprus under the FBI’s supervision and arranged a meeting
with the suspects. Felix’s cover came dangerously close to being blown during the operation,
when the Russians unexpectedly directed Felix to get in a car with them and drive to another
area. As stated in the SK1.1 Letter, Felix “played a crucial role in this investigation and the
government would not have sought or obtained an indictment without his assistance.” (5K].]
Letter at 7). In the second instance, which involved a similar scheme, Felix traveled to Turkey
with FBI agents to meet the identified leader of the scheme. Again, without Felix’s assistance,
neither the indictment nor the arrest of that suspect would have been possible.

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Felix also provided information to both U.S. and Russian authorities concerning Russian
organized crime. He provided a significant amount of historical data about the Russian mafia in
the U.S. and abroad, including which Russian oligarchs had ties to organized crime figures and
what their business interests were in the U.S. He also explained to the FBI how the Russian
mafia in the U.S. used accident insurance scams to generate revenue.

Felix Is Forced to End His Cooperation Following Exposure by the New York Times

Felix’s cooperation with the government likely would have continued had it not been for
a December 2007 article in the New York Times, under the headline “Real Estate Executive
With Hand in Trump Project Rose From Tangled Past” (the “Article”)', The Article disclosed
the existence of a pending case against Felix, although the case was under seal. The Article

 

' A copy of the Ariicle is amached hereto as Exhibit “A.”
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outlined the scheme at State Street and its ties to organized crime figures. At the time Felix was
working for Bayrock Group, LLC, a real estate development firm that was a partner in the Trump
Soho project in Lower Manhattan ‘and Trump International Hote! and Tower in Fort Lauderdale,
among others. Felix had been with the Bayrook Group since 2003, and had successfully
promoted and managed projects in partnership with Donald Trump. Following publication of the
Article, Bayrock severed ties with Felix.

In addition to disrupting his professional and personal life, the Article also destroyed
Felix’s ability to continue cooperating with the goverment. The Article revealed that Felix had
been cooperating since 1998 and described the operations he undertook with the CIA, including
assisting in the purchase of Stinger missiles. These disclosures not only jeopardized Felix’s
safety, but also meant that he could no longer serve as an effective informant.

While Felix was briefly unemployed as a result of the Article, and suffered from
depression, he soon bounced back, Since February 2008, he has served as an advisor to Mirax
Group, a large real estate development company in Russia, and has been involved in several
Mirax projects in Europe. Also, since August 2009, Felix has been employed at the Converse .,
Group, and has been hired to develop Converse Precious Medals, which will refine raw gold,
silver and platinum for resale. Felix aleo has since early 2008 been working as a real estate
consultant in New York.

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Felix's criminal conduct ended in 1996, thirteen years ago. And it has been nearly 11
years since his guilty plea. Between 1998 and 2008, Felix was under the continuous supervision
of numerous FBI agents with whom he worked closely; and each of those agents considered
Felix’s work with them to be “exemplary.” At the same time, Felix was working full-time in
lawful businesses in both the United States and Russia, and living with and supporting his wife
of 15 years and their three school-age children. In short, Felix has gotten his life back on track.
And he has dedicated nearly a decade of his life to give back for the wrong he committed, going
“above and beyond” what could reasonably have been expected of any cooperating defendant.

Meanwhile, Felix’s most similarly situated co-defendant, Salvatore Lauria, who also
cooperated, albeit far less reliably and expansively than Felix, was sentenced in February 2004 to
a term of five years of probation, including 12 months of home confinement, and a $20,000 fine.
Several other co-defendants also were sentenced to probation.

We ask the Court recognize the value of Felix’s extraordinary efforts, and his full cet
rehabilitation, by imposing a sentence of no jail and no probation.
 

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The Honorable I. Leo Glasser COUNSELORS a3 Lae
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cc: Todd Kaminsky, Esq.
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December 27, 2007

Real Estate Executive With Hand in Trump Projects Rose -
From Tangled Past

By CHARLES V. BAGLI
It is a classic tale of reinvention, American style,

Born in the Soviet Union in 1966, Felix H. Sater immigrated with his family to Brighton Beach when he was 8
years old, At 24 he was a successful Wall Street broker, at 27 he was in prison after a bloody bar fight, and at
32 he was accused of conspiring with the Mafia to launder money and defraud investors. :

Along the way he became embroiled in a plan to buy antiaircraft missiles on the black market for the Central
Intelligence Agency in either Russia or Afghanistan, depending on which of his former associates is telling
the story.

But in recent years Mr. Sater has resurfaced with a slightly different name and a new business card
identifying him as a real estate executive based on Fifth Avenue. And although he may not be a household

name, one of the people he is doing business with is: Donald.J, Trump.

Mr. Sater — who now goea by the name Satter — has been jetting to Denver, Phoenix, Fort Lauderdale, Fla.,
and elsewhere since 2008, promoting potential projects in partnership with Mr. Trump and others, In New
York, the company Mr. Sater works for, Bayrock Group, is a partner in the Trump SoHo, a sleek, 46-story
glass tower condominium hotel under construction on a newly fashionable section of Spring Street,

But much remains unknown about Mr. Sater, 41, and determining the truth about his past is a bit like
unraveling the plot of a spy novel: Almost every character tells a different tale.

A federal complaint brought against him in a 1998 money laundering and stock manipulation case was filed
in secret and remains under seal. A subsequent indictment in March 2000 stemming from the same
investigation described Mr, Sater as an “unindicted co-conspirator” and a key figure in a $40 million scheme
involving 19 stockbrokers and organized crime figures from four Mafia families.

The indictment asserted that Mr. Sater helped create fraudulent stock brokerages that were used to defraud
investors and launder money. Mr. Sater and his lawyer, Judd Burstein, repeatedly refused to discuss in detail

his role in the stock scam.

But a onetime friend, Gennady Kloteman, who is known as Gene and who was accused with Mr. Sater as a co-
conspirator, contends that they both pleaded guilty in 1998, and that Mr. Sater began cooperating with the
authorities, Prosecutors are unwilling to discuss either the 1998 complaint or the 2000 indictment.

“I'm not proud of some of the things that happened in my 20s,” Mr. Sater said in an interview, “I am proud of

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the things I'm doing now.”

Mr. Sater, who has an untitled position at Bayrock, said he started spelling his name as Satter to “distance
himself from a past’ in an age when anyone can look up a name on Google. But he continues to use the name
Sater on the deed to his house on Long Island.

Mr. Burstein added, “He does not hide his past, and difficulties he had, from anybody he does business with.”

But Alex Sapir, president of the Sapir Organization, a partner in Trump SoHo, said he was “not happy” to
have just learned of Mr. Sater's past on Thursday. “This is all news to me,” he said.

Mr. Trump also said he was surprised to learn of Mr. Sater’s past. "We never knew that,” he said of Mr. Sater.
“We do as much of a background check as we can on the principals. J didn't really know him very well.”

Mr, Trump said that most of his dealings with Bayrock had been with its founder, Tevfik Arif, and that his
son Donald and his daughter Ivanka were playing active roles in managing the project. Neither Bayrock nor

Mr. Trump has been accused of wrongdoing.

Mr. Sater has generally kept a low profile on the Trump projects, although he mingled with guests and the
owners at the September party introducing Trump SoHo. Mr. Trump and Mr. Sater were also together in

Loveland, Colo., in 2005, where they were interviewed by a reporter for The Rocky Mountain News about
potential development deals in nearby Denver. Mr. Trump said he did not recall Mr. Sater’s being there.

“They seemed to get along just fine,” said Justin Henderson, a Denver developer who worked with Mr,
Trump and Mr. Sater on an ultimately unsuccessful deal to build the tallest towers in Colorado. “It seemed
that Mr. Trump relied heavily on Mr, Sater’s opinion on certain markets."

Mr. Sater’s latest transformation could prove to be a cautionary tale for Mr. Trump, who has carefully
molded his image into an international brand that has extended from real estate to bottled water, men's
suits, steake, vodka, a television show and, in his latest invention, the Trump Hotel Collection.

The hotel collection, a hotel management company, includes two projects with Bayrock: Trump ScHo and -
Tramp International Hotel and Tower in Fort Lauderdale. A third joint project, in Phoenix, is also in the

works,

“Trump is a name associated with a certain cachet and bravado, I suppose, that will attract certain kinds of
people,” said Rita Rodriguez, chief executive of the Brand Union, a corporate branding and identity agency.

“The brand is a strategic and financial asset,” she said. “It has to be taken care of very similarly to any other
asset you have on your balance sheet. Anything that would detract from that could jeopardize the brand

impression the brand makes.”

Mr. Sater was born in the Soviet Union, the son of Rache) and Mikhail Sater, according to public records,
court testimony and the federal indictment. He has said his parents, who are Jewish, moved first tc Israel,
then to Baltimore and finally to New York in the early 1970s to escape “religious persecution.”

Mr. Sater was born Haim Felix Sater, but he once testified in court that he “Americanized” his name to Felix

 
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Henry Sater in the early 1990s.

Mr. Sater took classes at Pace University but dropped out at 18 to work at Bear Stearns. Like Mr. Klotsman,
he rose quickly, moving from firm to firm selling stock.

Mr. Sater’s first brush with the law came in 1991. Mr. Sater and Mr. Kloteman were at El Rio Grande, a
Midtown watering hole, celebrating with a friend and eventual co-conspirator, Salvatore Lauria, who had just

passed his stockbroker’s exam.

Mr. Sater later told a judge that he was in a good mood, having made a quick $3,000 in commissions that
day. But he got into an argument with a commodities broker at the bar, and it quickly escalated. According to
the trial transcript, Mr. Sater grabbed a large margarita glase, smashed it on the bar and plunged the stem
into the right side of the broker's face. The man suffered nerve damage and required 110 stitches to close the

laceration on his face.

“I got into a bar fight over a girl neither he nor I knew,” Mr. Sater said in an interview. “My life spiraled out of
control.” Mr. Sater was convicted at trial in 1993, went to prison and was effectively barred from selling

securities by the National Association of Securities Dealers.

But according to the 2000 federal indictment in the fraud case, Mr. Sater, Mr. Klotsman, Mr. Lauriaand
their partners gained control in 1993 of White Rock Partners, which later changed its name to State Street
Capital Markets. Although the companies “held themselves out as legitimate brokerage firms,” the
indictment states, “they were in fact operated for the primary purpose of earning money through fraud
involving the manipulation of the prices of securities.”

The trio would secretly gain contro! of large blocks of stock and warrants in four companies through offshore
accounts, the indictment said. In an illegal “pump and dump” scheme, they would inflate the value of the
shares through under-the-table payoffs to brokers who sold the securities to unsuspecting investors by
spreading false information about the companies. Brokers were prohibited from acting on sell orders from
investors unless they found another buyer, the indictment said.

The partners would then sell large blocks of stock at a steep profit. Investors suffered substantial losses as
share prices plummeted. Despite the prohibition against selling securities, a subsequent complaint by
regulators at the N.A.S.D. recounted how Mr. Sater “cursed, yelled and screamed” at the firm’s brokers in an
attempt to motivate them. He also offered cash rewards to brokers who sold the largest block of house stocks. _

At the same time, Mr. Sater, Mr. Lauria and others sought protection and help from members of the Mafia in
resolving disputes with “pump and dump” firms operated by other organized crime groups. In 1995, for

instance, Rdward Garafola, a soldier in the Gambino crime family, sought to extort money from Mr. Sater.
Mr. Sater, in turn, got Ernest Montevecchi, a soldier in the Genovese crime family, to persuade Mr, Garafola

to back off, according to the indictment.

The denovement of Mr. Sater’s career on Wall Street began in 1998 at a locker at a Manhattan Mini Storage
in SoHo, where investigators discovered two pistols, a shotgun and a gym bag stuffed with a trove of
documents outlining the money laundering scheme and offshore accounts of Mr. Sater and his partners.
According to a law enforcement official, aa well as Mr. Klotsman and another defendant in the case, Mr. Sater
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had rented the locker and then neglected to pay the rent. Mr. Sater denied having anything to do with the
locker or the guns.

At the time investigators opened the storage locker, Mr. Sater and Mr. Klotsman had gone to Russia, where
their wheeling and dealing continued, they said. Their most interesting stories, however, are hard to assess.

Mr, Sater and Mr. Klotsman tried to cut a deal with the C.I.A., according to a book co-written. by Mr. Lauria,
“The Scorpion and the Frog: High Times and High Crimes.” In exchange for leniency, the book said, they
offered to buy a dozen missiles that Osama bin Laden had placed on the black market. The deal later

collapsed.

Mr. Lauria has since renounced his book, which also details the false stock brokerage scheme, calling it

largely a work of fiction. He even tried unsuccessfully to block publication. However, his co-author, David S.
Barry, said he documented all the stories in the book with records and other interviews.

Mr. Klotsman said that Mr. Sater did obtain information for the United States about another set of black-
market missiles, and that those efforts “bought Felix his freedam” from prison.

Mr, Sater, Mr. Klotsman and Mr. Lauria eventually returned to New York. Mr. Klotaman and Mr. Lauria © -
agreed to cooperate with the United States attorney's office in Brooklyn and pleaded guilty to racketeering
charges in connection with the fraudulent stock brokerages, other defendants and lawyers in Mr. Sater’s case
said. The information they provided helped prosecutors obtain guilty pleas from all 19 of their former ,
cohorts, including six with ties to the mob. .

Mr. Klotsman and his lawyer assert that Mr. Sater also pleaded guilty and cooperated. “Felix was one of the
significant participants in the fraud,” the lawyer, Alexi M. Schacht, said.

Mr. Kictaman, who grew up with Mr. Sater, now lives in a $600-a-month apartment in Moscow, In an
interview, he said he was paying the American government $625 a month in restitution for the $40 million
lost by investors. He questioned whether Mr. Sater was paying a dime.

But Mr. Sater and his lawyer, Mr. Burstein, avoided many questions concerning his legal problems involving
the Wall Street acam, including whether he pleaded guilty and cooperated. "I challenge you to find any
official government document anywhere demonstrating his indictment or conviction for any crime other than

the assault,” Mr. Burstein said.

Mr. Sater said he joined Bayrock in 2003 at the urging of the company’s founder, Mr. Arif. A neighbor of Mr.
Sater’s in Sands Point, on Long Island, Mr. Arif ia a former economist for the Soviet government who built a

chain of five luxury hotels in Turkey and Kazakhstan after the collapse of the Soviet Union.

Within a stone's throw of the Manhattan Mini Storage building, the Trump SoHo is rising rapidly at the
corner of Spring and Varick Streets, another new glass tower amid the somewhat grubby industrial buildings
of what had been the city’s printing district. The tower has generated opposition from some local residents

and preservationists.

It is, for Mr, Sater, an emblem of his new life. “I'm trying to lead an exemplary existence,” he said. “Old, bad_
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luggage ie not something anyone wants to remember.”

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